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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:12-CR-3057

vs.
                                              MEMORANDUM AND ORDER
DIWANCHA SHONTALL BROWN,

                  Defendant.

      This matter is before the Court upon initial review of the pro se motion
to vacate under 28 U.S.C. § 2255 (filing 153) filed by the defendant,
Diwancha Shontall Brown. The Court's initial review is governed by Rule 4(b)
of the Rules Governing Section 2255 Proceedings for the United States
District Courts, which provides:


      The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the
      record of prior proceedings that the moving party is not entitled
      to relief, the judge must dismiss the motion and direct the clerk
      to notify the moving party. If the motion is not dismissed, the
      judge must order the United States attorney to file an answer,
      motion, or other response within a fixed time, or to take other
      action the judge may order.


      A § 2255 movant is entitled to an evidentiary hearing unless the motion
and the files and records of the case conclusively show that the movant is
entitled to no relief. § 2255(b); Sinisterra v. United States, 600 F.3d 900, 906
(8th Cir. 2010). Accordingly, a motion to vacate under § 2255 may be
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summarily dismissed without a hearing if (1) the movant's allegations,
accepted as true, would not entitle the movant to relief, or (2) the allegations
cannot be accepted as true because they are contradicted by the record,
inherently incredible, or conclusions rather than statements of fact. Engelen
v. United States, 68 F.3d 238, 240 (8th Cir. 1995); see also Sinisterra, 600
F.3d at 906.


                                BACKGROUND
      Brown was charged on May 22, 2012 with a single count of conspiring
to distribute 280 grams or more of crack cocaine. Filing 1. He pled guilty.
Filing 60; filing 61; filing 67; filing 68. He had two relevant prior convictions:
Nebraska state convictions for possession with intent to deliver a controlled
substance, and for assault in the first degree. Filing 93 at 12-14. So, the
presentence report (PSR) concluded that Brown was a career offender. Filing
93 at 8, 16. In the end, based on a total offense level 34 and criminal history
category VI, the PSR found a guideline imprisonment range of 262 to 327
months. Filing 93 at 26; filing 94 at 1.
      Brown, through counsel, objected to application of the career offender
guideline. Filing 89. The Court overruled the objection, filing 90 at 2, and
imposed a sentence of 262 months' imprisonment, filing 96 at 2. The Court's
judgment was entered on July 15, 2013. Filing 96. Brown did not appeal. The
present § 2255 motion was filed on January 11, 2018. Filing 153.


                                 DISCUSSION
      Brown's § 2255 motion presents three claims: that (1) assault in the
first degree is no longer a crime of violence for purposes of career offender
status, (2) possession with intent to deliver is no longer a predicate offense for
career offender status, and (3) he received ineffective assistance of counsel in


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failing to object to drug quantities. Filing 152 at 4-7. But the initial question
is whether Brown's claims are timely. A § 2255 motion must be filed within 1
year from "the date on which the judgment of conviction becomes final." 28
U.S.C. § 2255(f)(1). And Brown's claims are over 3 years late.
      Anticipating that problem, Brown relies on McQuiggin v. Perkins, 569
U.S. 383 (2013). McQuiggin holds that a claim of actual innocence can
overcome the statute of limitations for a habeas claim. Id. at 392. And Brown
says he is asserting a claim of actual innocence. Filing 153 at 12.
      The problem is that he's not asserting a claim of actual innocence. Such
a claim is cognizable "only when a petition presents evidence of innocence so
strong that a court cannot have confidence in the outcome of the trial unless
the court is also satisfied that the trial was free of nonharmless constitutional
error." Id. at 401 (cleaned up) (citing Schlup v. Delo, 513 U.S. 298, 316
(2013)). Brown alleges nothing that can be read to support such a claim. His
claims are all predicated on alleged defects in his sentencing, and advance no
claim that he is actually innocent of the crime to which he pled guilty. Nor
does he proffer any explanation for his admission, in connection with his
guilty plea, of the conduct underlying his conviction. See filing 67 at 18-19;
see also Nguyen v. United States, 114 F.3d 699, 703 (8th Cir. 1997)
(representations during plea-taking carry strong presumption of verity).
      Even had Brown advanced an actual innocence claim, the Court is not
convinced it would save his other claims. It is not persuasive to think that an
actual innocence claim can serve as a Trojan Horse to slip other, less
extraordinary claims past the gate of the statute of limitations. But here,
Brown has not alleged even that much. All his claims are clearly time-barred.
      And even if considered on the merits, Brown's claims are insufficient.
He offers no explanation for why the predicate offenses for his career offender



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status are purportedly no longer predicate offenses, nor any explanation for
why even if that was true, those changes would be retroactive. And his claim
to have been deprived of effective assistance of counsel based on failure to
object to drug quantity fails as well, for at least two reasons. First, he
admitted to the quantity reflected in the PSR's drug quantity calculation. See
filing 67 at 18-19; filing 93 at 7. And second, his guideline sentencing range
was based on his career offender status, not drug quantity, so he could not
have been prejudiced by a failure to object. See filing 93 at 8.


                                CONCLUSION
      The defendant's allegations either entitle him to no relief, or are
contradicted by the record. Accordingly, his § 2255 motion will be summarily
dismissed. A movant cannot appeal an adverse ruling on his § 2255 motion
unless he is granted a certificate of appealability. 28 U.S.C. § 2253(c)(1); Fed.
R. App. P. 22(b)(1). A certificate of appealability cannot be granted unless the
movant "has made a substantial showing of the denial of a constitutional
right." 28 U.S.C. § 2253(c)(2). To make such a showing, the movant must
demonstrate that reasonable jurists would find the Court's assessment of the
constitutional claims debatable or wrong. Tennard v. Dretke, 542 U.S. 274,
282 (2004); see also Gonzalez v. Thaler, 132 S. Ct. 641, 648 (2012).
      In this case, the defendant has failed to make a substantial showing of
the denial of a constitutional right. The Court is not persuaded that the
issues raised are debatable among reasonable jurists, that a Court could
resolve the issues differently, or that the issues deserve further proceedings.
Accordingly, the Court will not issue a certificate of appealability.




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     IT IS ORDERED:


     1.    The defendant's pro se motion to vacate under 28 U.S.C. §
           2255 (filing 153) is denied.


     2.    The Court will not issue a certificate of appealability in this
           matter.


     3.    A separate judgment will be entered.


     4.    The Clerk is directed to mail a copy of this Memorandum
           and Order to the defendant at his last known address.


     Dated this 13th day of April, 2018.


                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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